                Case 2:08-cr-00244-RSL Document 252 Filed 01/29/21 Page 1 of 4




 1
 2
 3
 4
 5
                                 UNITED STATES DISTRICT COURT
 6
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,                               Case No. CR08-244RSL

10                           Plaintiff,                       ORDER DENYING
11                      v.                                    DEFENDANT’S MOTION
                                                              FOR COMPASSIONATE
12    SEAN WILLIAM DOAK,                                      RELEASE
13                           Defendant.
14
15         This matter comes before the Court on defendant’s “Motion to Reduce Sentence Pursuant
16 to First Step Act and for Compassionate Release.” Dkt. # 244. Having considered the motion
17 and the record contained herein, the Court finds as follows:
18         I.       PROCEDURAL MOTIONS
19         As an initial matter, the Court finds compelling reasons justify sealing Exhibits C–H of
20 the defendant’s motion (Dkt. # 243) and Exhibit 1 of the government’s response (Dkt. # 250).
21 The defendant’s motion to seal (Dkt. # 242) and the government’s motion to seal (Dkt. # 249)
22 are accordingly GRANTED.
23         II.      BACKGROUND
24         Defendant is a 46-year-old inmate currently incarcerated at Reeves III in Pecos, Texas.
25 Dkts. # 244 at 6, # 248 at 3. He is a citizen of Canada. On December 14, 2015, defendant pled
26 guilty to conspiracy to distribute 100 kilograms or more of marijuana and 500 grams or more of
27 a mixture and substance containing cocaine, in violation of 21 U.S.C. §§ 841(a)(1),
28 841(b)(1)(B), and 846. Dkt. # 153 at 2. On June 10, 2016, the Court sentenced defendant to 84
     ORDER DENYING DEFENDANT’S MOTION
     FOR COMPASSIONATE RELEASE - 1
             Case 2:08-cr-00244-RSL Document 252 Filed 01/29/21 Page 2 of 4




 1 months’ imprisonment and four years of supervised release. Dkt. # 168 at 2–3. Defendant is
 2 currently scheduled for release from the custody of the Federal Bureau of Prisons (“BOP”) on
 3 December 28, 2021. Dkts. # 244 at 1, # 248 at 2. He now moves for compassionate release.
 4         III.   DISCUSSION
 5         The compassionate release statute provides narrow grounds for defendants in
 6 “extraordinary and compelling” circumstances to be released from prison early. See 18 U.S.C.
 7 § 3582(c). The First Step Act of 2018 amended the procedural requirements governing
 8 compassionate release. See id. Prior to the First Step Act’s passage, only the Director of the
 9 BOP could bring motions for compassionate release. The Director rarely filed such motions.
10 See, e.g., United States v. Brown, 411 F. Supp. 3d 446, 448 (S.D. Iowa 2019). Congress
11 amended the statute to allow defendants to directly petition district courts for compassionate
12 release. As amended, 18 U.S.C. § 3582(c)(1)(A) states in relevant part,
13                (c) Modification of an imposed term of imprisonment.—The court may not
                  modify a term of imprisonment once it has been imposed except that—
14
                         (1) in any case—
15
                                (A) the court, upon motion of the Director of the Bureau of
16                              Prisons, or upon motion of the defendant after the defendant
17                              has fully exhausted all administrative rights to appeal a failure
                                of the Bureau of Prisons to bring a motion on the defendant’s
18                              behalf or the lapse of 30 days from the receipt of such a
19                              request by the warden of the defendant’s facility, whichever
                                is earlier, may reduce the term of imprisonment (and may
20                              impose a term of probation or supervised release with or
21                              without conditions that does not exceed the unserved portion
                                of the original term of imprisonment), after considering the
22                              factors set forth in section 3553(a) to the extent that they are
23                              applicable, if it finds that—
24                                     (i) extraordinary and compelling reasons warrant such
                                       a reduction; . . .
25
                                       (ii) . . .
26
                                       and that such a reduction is consistent with the
27                                     applicable policy statements issued by the Sentencing
                                       Commission[.]
28
     ORDER DENYING DEFENDANT’S MOTION
     FOR COMPASSIONATE RELEASE - 2
             Case 2:08-cr-00244-RSL Document 252 Filed 01/29/21 Page 3 of 4




 1         Prior to considering the merits of defendant’s motion, the Court must determine whether
 2 he has met the statutory exhaustion requirement for compassionate release. See 18 U.S.C.
 3 § 3582(c)(1)(A). Defendant bears the burden of establishing this requirement. See, e.g., United
 4 States v. Van Sickle, No. CR18-0250JLR, 2020 WL 3962225, at *2 (W.D. Wash. July 13, 2020)
 5 (collecting cases). The parties agree that defendant satisfied this requirement by filing a request
 6 on April 13, 2020, Dkts. # 244 at 3, # 248 at 5, which the Warden at Reeves III denied on April
 7 20, 2020, Dkt. # 244-1 at 1–13 (Ex. A). The Court, however, disagrees as a matter of law. In
 8 United States v. Garcia, No. CR13-0071JLR, 2020 WL 3839631, at *3–4 (W.D. Wash. July 8,
 9 2020), reconsideration denied, No. CR13-0071JLR, 2020 WL 4698814 (W.D. Wash. Aug. 13,
10 2020), where the government also did not contest the exhaustion requirement, the court
11 determined that it had an independent responsibility under the statute to find whether this
12 requirement had been met on the facts presented. Here, the record reflects that defendant
13 attempted to appeal the Warden’s decision, and the Administrative Remedy Coordinator
14 provided a “Rejection Notice” to defendant concerning his attempted appeal. Dkt. # 244-2 at 2
15 (Ex. B). The Rejection Notice advised defendant that his appeal was being “rejected and
16 returned” for not being in the “proper form” (e.g., only one “continuation page” may be
17 submitted, all pages of the form must be “legible and worded the same,” and a “complete” set of
18 copies must be submitted). See id. The notice advised defendant that he could resubmit his
19 appeal. There is no evidence in the record that defendant attempted to resubmit his appeal in the
20 proper format. Thus, the Court concludes that defendant failed to fully exhaust his
21 administrative appeal rights. See Garcia, 2020 WL 3839631, at *4. A failure to exhaust
22 administrative remedies is fatal to a compassionate release motion. See id. Because defendant
23 has not satisfied the exhaustion requirement, the Court lacks authority to grant the relief
24 requested here.
25         IV.    CONCLUSION
26         For all the foregoing reasons, defendant’s motion for compassionate release (Dkt. # 244)
27 is DENIED without prejudice to re-filing upon satisfaction of the exhaustion requirement set
28
     ORDER DENYING DEFENDANT’S MOTION
     FOR COMPASSIONATE RELEASE - 3
            Case 2:08-cr-00244-RSL Document 252 Filed 01/29/21 Page 4 of 4




 1 forth in 18 U.S.C. § 3582(c)(1)(A). Defendant’s and the government’s motions to seal (Dkts.
 2 # 242, # 249) are GRANTED.
 3        IT IS SO ORDERED.
 4
 5        DATED this 29th day of January, 2021.
 6
 7
 8
 9
                                                   A
                                                   Robert S. Lasnik
                                                   United States District Judge
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     ORDER DENYING DEFENDANT’S MOTION
     FOR COMPASSIONATE RELEASE - 4
